8:12-cr-00107-LSC-TDT         Doc # 135     Filed: 08/22/13     Page 1 of 2 - Page ID # 361




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  8:12CR107
                                              )
       vs.                                    )                   ORDER
                                              )
TAMMY L. SCHUCK and                           )
TABATHA N. ASHBURN,                           )
                                              )
                     Defendants.              )


       This matter is before the court following the Rule 17.1. conference held in Courtroom
No. 7 on August 22, 2013. Assistant U.S. Attorneys John E. Higgins and Donald J. Kleine
represented the United States. Mark W. Bubak represented defendant Tammy L. Schuck.
A. Michael Bianchi represented defendant Tabatha N. Ashburn. The defendants were not
present. Following a discussion with counsel regarding the status of the case, the following
deadlines were established:
       1.     Stipulations regarding authenticity of various exhibits to be used at trial to be
completed by September 6, 2013.
       2.     The government’s list of exhibits to be used at trial to be disclosed by
September 20, 2013. Such list may be subject to additions.
       3.     The defendants’ lists of exhibits to be disclosed by October 1, 2013. Such
lists may be subject to additions.
       4.     Any motions in limine by any party to be filed by September 26, 2013. Any
responses to the motions in limine to be filed by October 2, 2013.
       5.     Any request for a protective order to be filed on a restricted basis by
September 13, 2013.
       6.     Any objections regarding the government’s proposed tape recording exhibits
to be made by August 28, 2013.
       7.     The defendants’ Rule 16 reciprocal discovery to be completed by September
13, 2013.
8:12-cr-00107-LSC-TDT        Doc # 135    Filed: 08/22/13   Page 2 of 2 - Page ID # 362




       8.     Arraignment on the Superseding Indictment shall occur as set forth in the
court’s previous order (Filing No. 124)


       IT IS SO ORDERED.
       The government estimates ten trial days to present its evidence. The defendants
estimate 2-3 days to present their evidence. The court may schedule further Rule 17.1
conferences as may be deemed necessary.


       DATED this 22nd day of August, 2013.


                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge




                                            2
